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      STRATEGIC INTELLECTUAL PROPERTY COUNSEL       	




  	
  	
                                                                                               June 1, 2017

                                                                  BY ELECTRONIC and POST MAIL
  Tomas Okmanas
  Tesonet
  Jasinskio st. 16
  Vilnius, 03163 Lithuania
  tom@shader.io

  Re: U.S. Patents 8,560,604; 9,241,044

  I represent Hola Networks Ltd. which owns various patents in the field of peer-
  to-peer based routing.

  It has come to our attention that Tesonet is developing, considering to develop
  or is in the business of providing products and services relating to peer-to-peer
  based routing.

  We call to your attention certain intellectual property owned by Hola Networks.
  Specifically, your attention is drawn to U.S. Patents 8,560,604 and 9,241,044
  (and other pending patent applications) covering a proprietary claim scope
  within the field, as stated in the attached issued patents.

  Your management and counsel are kindly advised to take note of the above
  intellectual property, as Hola Networks zealously guards its technology and
  rights in this space. Hola Networks is willing to discuss licensing of the above
  patents on reasonable terms.
                                                    Sincerely,




                                                                  Ibrahim M. Hallaj


  + Enclosures: U.S. Patents 8,560,604; 9,241,044
